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 8                              UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
10                                   (Honorable M. James Lorenz)
11
12
13   UNITED STATES OF AMERICA,           )                Case No. 08CR04426-L
                                         )
14               Plaintiff,              )                ORDER
                                         )
15   ELIAS FLORES-GARCIA                 )
                                         )
16               Defendant.              )
     ___________________________________ )
17
18          GOOD CAUSE APPEARING, it is hereby ordered that the sentencing hearing set for April
19   20, 2009, at 8:30 a.m. be rescheduled to April 27, 2009, at 8:30 a.m.
20          SO ORDERED.
21
22
     DATED: April 17, 2009
23
24                                                        M. James Lorenz
                                                          United States District Court Judge
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